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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 4:06-CR-020-SPM

SANDRA DAVIS,

           Defendant.
______________________________/


                          ACCEPTANCE OF GUILTY PLEA

       PURSUANT TO the Report and Recommendation (doc. 64) of the United States

Magistrate Judge, to which there have been no timely objections, and subject to the

Court’s consideration of any Plea Agreement pursuant to Federal Rule of Criminal

Procedure 11(e)(2), the plea of guilty of the defendant, SANDRA DAVIS, to Count One

of the indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

       DONE AND ORDERED this sixth day of June, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
